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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,

        v.                                                                               ORDER
                                                                                      10-CR-184S (1)
ANTONIO BRIGGS,

                            Defendant.


        1.      Defendant Antonio Briggs is charged in three counts of a multi-count, multi-

defendant Second Superseding Indictment1 with conspiring to possess with intent to

distribute, and to distribute, quantities of mixtures and substances containing cocaine,

cocaine base, heroin, 3,4-methylenedioxymethamphetamine (MDMA), oxycodone,

hydrocodone, and marijuana, in violation of 21 U.S.C. §§ 841(a), 841(b)(1)(A)–(E), and

846, and using a telephone to facilitate felony drug offenses, in violation of 21 U.S.C. §

843(b).

        Upon the Government’s motion for Defendant’s pretrial detention, the Magistrate

Judge conducted a detention hearing and found that Defendant presented a risk of flight

and danger to the community. (Text minute entry, Aug. 26, 2010.) The Magistrate Judge

subsequently ordered, without prejudice, that Defendant be detained. Defendant moved

for reconsideration of detention (Docket No. 46) and the Magistrate Judge held a hearing

on the motion on September 20 and 28, 2010. The Magistrate Judge found that Defendant

failed to rebut the statutory presumption of detention and, on December 23, 2010, issued

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          The grand jury returned the Second Superseding Indictm ent on January 20, 2011, nam ing
Defendant in the sam e num ber of counts as in the Indictm ent, filed June 24, 2010, and the Superseding
Indictm ent, filed July 29, 2010, but charging him with an extended period of relevant conduct, an
enhanced weight of a controlled substance, and an additional statutory violation.

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an Order denying Defendant’s motion and ordering his detention. (Docket No. 132.)

       Presently before this Court is Defendant’s Appeal of the Magistrate Judge’s

Detention Order. (Docket No. 136.) For the reasons stated below, Defendant’s appeal is

denied and he shall remain detained pending trial.

       2.     Eighteen U.S.C. § 3145(b) provides the mechanism for review of a magistrate

judge’s detention order by a district judge. Review is de novo, but the district judge is

permitted to use the factual and evidentiary record developed below when making an

independent conclusion. See United States v. Leon, 766 F.2d 77, 80 (2d Cir. 1985).

       3.     Under the Bail Reform Act, 18 U.S.C. §§ 3141, et seq., pretrial detention is

available only pursuant to § 3142(e). See 18 U.S.C. § 3142(a)(4); United States v. Dillard,

214 F.3d 88, 90–91 (2d Cir. 2000). That subsection expressly authorizes the pretrial

detention of a defendant upon a judicial finding that “no condition or combination of

conditions will reasonably assure the appearance of the person as required and the safety

of any other person and the community.” 18 U.S.C. § 3142(e).

       4.     Also applicable here, given that Defendant is subject to a maximum term of

imprisonment of life under Title 21 United States Code Section 841(b), is the rebuttable

presumption of both flight and dangerousness. See 18 U.S.C. § 3142(e)(3)(A). Under that

provision, it is presumed, subject to rebuttal, “that no condition or combination of conditions

will reasonably assure the appearance of the person as required and the safety of the

community,” if there is probable cause to believe that the person committed “an offense

for which a maximum term of imprisonment of ten years or more is prescribed in the

Controlled Substances Act (21 U.S.C. § 801 et seq).” 18 U.S.C. § 3142(e)(3)(A). The



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indictment itself furnishes probable cause to believe that a defendant committed the

offenses charged. See United States v. Contreras, 776 F.2d 51, 55 (2d Cir. 1985).

       5.     When the statutory presumption of detention exists, the defendant must

present “some evidence contrary to the presumed fact” to rebut the presumption. United

States v. Rodriquez, 950 F.2d 85, 88 (2d Cir. 1991). The government retains the burden

of persuading the court of the defendant’s risk of flight by a preponderance of the

evidence, see United States v. Friedman, 837 F.2d 48, 49 (2d Cir. 1988), and of the

defendant’s dangerousness by clear and convincing evidence, see Rodriquez, 950 F.2d

at 88; 18 U.S.C. § 3142(f). The remaining strength of the presumption is then weighed

along with the factors set forth in 18 U.S.C. § 3142(g), which include (1) the nature and

circumstances of the offense charged, including whether the offense . . . involves . . . a

controlled substance; (2) the weight of the evidence against the person; (3) the history and

characteristics of the person; and (4) the nature and seriousness of the danger to any

person or the community that would be posed by the person’s release. 18 U.S.C. §

3142(g).

       6.     To rebut the presumption that no condition or combination of conditions will

reasonably assure against his flight or dangerousness, Defendant argues that he has

significant ties to the Western New York area, no out-of-state contacts, no history of

violence, and no history of mental health issues to corroborate the Government’s

contention that he may harm himself if released, and, further, that Pretrial Services

recommended his release on non-financial bond in its August 27, 2010 Report.

       7.     The Court will consider each factor of § 3142(g) in turn. First, the nature and

circumstances of the drug offenses charged are serious. Congress has specified that

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courts considering detention of a defendant take into account the significance of a crime

involving “a controlled substance.” 18 U.S.C. § 3142(g)(1). Here, Defendant is charged

with participating in a large-scale drug-trafficking conspiracy involving various controlled

substances, including five kilograms or more of cocaine and five grams or more of cocaine

base, as well as quantities of heroin, MDMA, oxycodone, hydrocodone, and marijuana.

Moreover, Defendant is alleged to have held a principal role in this drug conspiracy case.

        The recent Second Superseding Indictment of January 20, 2011, charges

Defendant with offenses that carry more substantial criminal penalties than the offenses

in previous indictments considered by the Magistrate Judge. If convicted of this conspiracy

offense, Defendant faces a mandatory minimum term of imprisonment of ten years2 and

a maximum sentence of life. This Court finds that the nature of Defendant’s alleged

offenses and his potential for a lengthy period of incarceration provide a motive to flee and

weigh against release.

        Second, the evidence against Defendant appears to be strong. The Government

has proffered evidence of intercepted communications between Defendant and other co-

defendants, regarding the alleged purchase and distribution of narcotics. The Government

will present recordings from a cellular telephone that investigation revealed to be used by

Defendant, as well as from the telephone at Defendant’s place of business. Along with

information provided by cooperating defendants, the Government will present surveillance

of Defendant’s clothing business that revealed alleged drug-trafficking arrangements and



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         The Governm ent notes that Defendant’s two prior narcotics convictions m ay increase his
m andatory m inim um term of incarceration to m ore than ten years, pursuant to 21 U.S.C. § 841(b).
(Governm ent’s Mem orandum , Docket No. 146, p. 15–16.)

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negotiations.

        The Government has proffered the transcript of an intercepted communication

between Defendant and his father on March 22, 2010, during which Defendant first tells

his father that he is presently under surveillance while at Buffalo International Airport and

then directs his father to remove something from inside a particular coat in Defendant’s

clothing store. Defendant asserts that he was directing his father to remove money from

one of the coat pockets to protect the money from being seized during a search of his

store. (Docket No. 147.) Although Defendant has suggested that the money was from

clothing sales at his store, rather than from drug-trafficking, the likelihood that Defendant

was directing removal of inculpatory evidence is sufficiently strong to weigh against him.

        Defendant argues that even after determining that he was under surveillance while

at the airport, he departed from and returned to Buffalo as planned, rather than fleeing.

The Government proffered information, however, that a federal employee in the

Transportation Security Administration had disclosed this covert surveillance to Defendant,

demonstrating the wide reach of Defendant’s influence.

        Third, Defendant’s personal characteristics and history do not warrant pretrial

release. This Court notes that Defendant has a criminal history of narcotics convictions.3

In 1992, Defendant was convicted of attempted possession of a controlled substance and,

in 1995, he was convicted of distribution of a controlled substance. Although the parties

note that Defendant does not have mental health issues, significantly, the Government

indicated that it had received information from a previously-credible confidential source that


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           Defendant’s reliance on United States v. Friedm an is m isplaced. 837 F.2d at 50 (denying
pretrial detention where the defendant had strong com m unity ties and no prior criminal record).

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Defendant had stated an intention to flee or take his own life upon pretrial release. (Audio

Recording of Detention Hearing, Aug. 26, 2010; see also Docket No. 146.)

       Defendant points out that he has resided in Western New York his entire life, lives

here with his wife of fourteen years, and owns a business in Buffalo, New York, which he

has operated for the past four years. Nonetheless, this Court finds that Defendant’s ties

to the Western New York area do not overcome the Government’s proffered evidence

demonstrating Defendant’s motive for flight, nor the statutory presumption that Defendant

presents a risk of flight. Indeed, the Government notes that some of Defendant’s family

members may be involved in drug-trafficking activities as well. Further, the Government

contends that evidence reveals that Defendant’s clothing business has served as a cover

for his alleged drug-trafficking.

       Fourth, the nature and seriousness of the danger to any person or the community

that would be posed by Defendant’s release weighs in favor of detention. Defendant is

charged with serious crimes including possessing a large quantity of drugs and

participating in a conspiracy to distribute them. Indeed, Congress created the applicable

presumption of detention based on its determination that the type of drug-trafficking alleged

in this indictment is a serious danger to the community. United States v. Portes, 786 F.2d

758, 765 (7th Cir. 1985) (noting that Congress felt that a significant consideration in

determining danger to the community “is the drug network's ability to continue to function

while the defendant awaits trial,” which poses a significant risk of pretrial recidivism).

       Notably, the Government advised the Magistrate Judge that it had received

information that members of Defendant’s family were attempting to identify the confidential

informants in this case, and had indicated that retaliatory action would be taken against the

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informants. (Audio Recording of Motion Hearing, Sept. 20, 2010; see also Docket No. 63.)

       Finally, although Defendant argues pursuant to the recommendation from Pretrial

Services that he be released upon a non-financial bond, the Amended Pretrial Services

Report of February 8, 2011, reflects a modified recommendation that Defendant be

detained. Indeed, Pretrial Services bases its amended recommendation for detention on

the new information indicating efforts on behalf of Defendant to identify and retaliate

against the Government’s confidential informants.

       Defendant argues that his appearance could be reasonably assured by imposing

electronic or GPS monitoring, but this Court disagrees. While electronic monitoring

diminishes the risk of flight, it does not reduce it to a level so as to reasonably assure

Defendant’s appearance at future court dates. This Court finds that such monitoring, which

would only alert Pretrial Services that Defendant fled, is insufficient in the face of strong

evidence that Defendant is both a flight risk and a danger to the community. In light of the

information received by the Government indicating Defendant’s intent to flee or take his life

upon pretrial release, as well as attempts to identify informants for retaliation as the clear

and convincing evidence of Defendant’s dangerous, this Court finds by a preponderance

of the evidence that the conditions proposed, including monitoring and financial bond, are

insufficient to reasonably assure Defendant’s appearance or protect the safety of the

community.

       10.    Having considered the above, this Court finds that no condition or

combination of conditions will reasonably assure Defendant’s appearance as required and

the safety of any other person and the community if he were released. Continued

detention is therefore required, pursuant to 18 U.S.C. § 3142(e). Accordingly, Defendant’s

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Appeal of the Magistrate Judge’s Detention Order is denied.



      IT HEREBY IS ORDERED, that Defendant’s [136] Appeal of the Magistrate Judge’s

Detention Order is DENIED.

      FURTHER, that Defendant’s pretrial detention shall be maintained pursuant to 18

U.S.C. § 3142(e).

      SO ORDERED.

Date: March 3, 2011
      Buffalo, New York

                                                  s/William M. Skretny
                                                 WILLIAM M. SKRETNY
                                                      Chief Judge
                                                United States District Court




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